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                 4                                  UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                    ***
                 7       UNITED STATES OF AMERICA,                            Case No. 2:09-CR-262 JCM (GWF)
                 8                                            Plaintiff(s),                     ORDER
                 9              v.
               10        ADRIAN FUENTES-GARCIA, et al.,
               11                                           Defendant(s).
               12
               13              Presently before the court is United States v. Rivera-Avalos, et al., case number 2:09-cr-
               14       00262-JCM-GWF.
               15              On December 19, 2014, defendant Adrian Fuentes-Garcia filed a pro se motion for
               16       sentence reduction. (Doc. # 351). At the time of defendant’s motion he was represented by counsel
               17       Todd Leventhal, Esq.
               18              The court granted defendant’s motion for sentence reduction on February 26, 2015. (Doc.
               19       # 355). Under the protocol for discretionary sentence reductions based on guideline amendment
               20       782, when a request motion for sentence reduction is filed, the court orders a federal public
               21       defender to be appointed as counsel to represent the defendant moving for sentence reduction.
               22       When the court granted defendant’s pro se motion for sentence reduction, Mr. Leventhal was
               23       automatically removed as counsel.
               24              Defendant is currently scheduled to appear before this court on May 14, 2015, for an
               25       evidentiary hearing regarding defendant’s 28 U.S.C. § 2255 motion to vacate sentence. Mr.
               26       Leventhal, in preparing for the hearing, noticed his removal from the case.
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James C. Mahan
U.S. District Judge
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                1            Defendant has shown no desire to remove Mr. Leventhal as counsel. The court believes
                2     that defendant did not mean to remove Mr. Leventhal when defendant filed the improper pro se
                3     motion for sentence reduction.
                4            Pursuant to Local Rule IA 10-6(a), “[a] party who has appeared by attorney cannot while
                5     so represented appear or act in the case. An attorney who has appeared for a party shall be
                6     recognized by the Court and all parties as having control of the client’s case.”
                7            The court finds it appropriate to vacate its February 26, 2015, order appointing a federal
                8     public defender based on defendant’s pro se motion for sentence reduction. (Doc. # 355). Mr.
                9     Leventhal will be reinstated as counsel for defendant Adrian Fuentes-Garcia.
              10             Further, Mr. Leventhal is advised to inform his client that his attorney must file motions
              11      in compliance with Local Rule IA 10-6(a). The court will deny defendant’s improperly filed pro
              12      se motion for sentence reduction (doc. # 351) without prejudice. Defendant may refile his motion
              13      for reduction of sentence, through his attorney, in compliance with Local Rule IA 10-6(a).
              14             Accordingly,
              15             IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the court’s order
              16      appointing a federal public defender based on defendant’s pro se motion for sentence reduction
              17      (doc. # 355) be, and the same hereby is, VACATED. Mr. Leventhal shall be reinstated as counsel
              18      for defendant Adrian Fuentes-Garcia.
              19             IT IS FURTHER ORDERED that defendant’s improperly filed pro se motion for sentence
              20      reduction (doc. # 351) be, and the same hereby is, DENIED without prejudice.
              21             DATED April 24, 2015.
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              23                                                    UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                   -2-
